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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                    )     Case №: 1:20-CR-00093-4-NONE
                                                   )
9                     Plaintiff,                   )                    ORDER
                                                   )               APPOINTING COUNSEL
10            vs.                                  )
                                                   )
11    JOE CORRALES-ENRIQUEZ,                       )
                                                   )
12                    Defendant.                   )
                                                   )
13
              The above named Defendant has, under oath, sworn or affirmed as to his financial
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15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
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              IT IS HEREBY ORDERED that Robert C. Lamanuzzi be appointed to represent the
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     above defendant in this case effective nunc pro tunc to December 17, 2020.
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              This appointment shall remain in effect until further order of this court.
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     IT IS SO ORDERED.
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     Dated:     December 18, 2020
24                                                       UNITED STATES MAGISTRATE JUDGE
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